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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                               SOUTHERN DIVISION



INTERNATIONAL REFUGEE
ASSISTANCE PROJECT, et al.,
                                                Civil Action No.: 8:17-CV-00361-TDC
              Plaintiffs,

                 v.                             PLAINTIFFS’ NOTICE OF VOLUNTARY
                                                DISMISSAL OF FOURTH THROUGH
DONALD TRUMP, et al.,                           SEVENTH CLAIMS OF SECOND
                                                AMENDED COMPLAINT
            Defendants.


      Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiffs hereby provide notice of

voluntary dismissal of the Fourth, Fifth, Sixth, and Seventh Claims for Relief in their Second

Amended Complaint, Dkt. No. 203, ¶¶ 391-411.



     Respectfully submitted,                 Dated: December 3, 2018

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                                CERTIFICATE OF SERVICE

     I hereby certify that on this 3rd day of December, 2018 I caused a PDF version of the

foregoing document and any accompanying exhibits to be electronically transmitted to the Clerk

of the Court, using the CM/ECF System for filing and for transmittal of a Notice of Electronic

Filing to all CM/ECF registrants.



Dated: December 3, 2018                           Respectfully submitted,

                                                  /s/ Justin B. Cox




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